Case 1:24-cv-00398-APM Document 18-16 Filed 07/22/24 Page 1 of 4




                 EXHIBIT
                   11-B
        Case 1:24-cv-00398-APM Document 18-16 Filed 07/22/24 Page 2 of 4




The Pettinato Firm                                                                               INVOICE
1802 Vernon St. NW, PMB 620                                                                            Invoice # 49
Washington, DC 20009                                                                              Date: 06/27/2024
                                                                                                Due On: 07/27/2024


Friends of the Wild Swan
PO Box 103
Bigfork, MT 59911

00017-Friends of the Wild Swan

Gunsight Lake Freedom of Information Act lawsuit.

 Services

    Date                                     Notes                                  Quantity    Rate       Total

 02/04/2024   Draft complaint.                                                         1.50    $726.00   $1,089.00

 02/05/2024   Draft complaint.                                                         3.00    $726.00   $2,178.00

 02/05/2024   Email A. Montgomery re: draft complaint and next steps.                  0.20    $726.00    $145.20

 02/08/2024   Edit complaint and email A. Montgomery re: filing and next steps         0.30    $726.00    $217.80
              (.1).

 02/12/2024   Draft corporate representation statement (.2) and email A.               0.30    $726.00    $217.80
              Montgomery.

 02/13/2024   Call clerk's office to request issuance of summonses (.1) and email      0.30    $726.00    $217.80
              A. Montgomery re: judicial assignment, next steps and coordination
              (.2).

 03/20/2024   Call with I. Berthane and email A. Montgomery re: National Park          0.20    $726.00    $145.20
              Service request for an extension of time to file the answer.

 03/21/2024   Call with A. Montgomery and email I. Berhane re: motion for an           0.40    $726.00    $290.40
              extension of time (.1).

 03/21/2024   Meet with A. Montgomery re: documents, motion for extension, and         0.50    $726.00    $363.00
              next steps.

 03/28/2024   Review analysis sent from A. Montgomery and review documents             0.50    $726.00    $363.00
              received.

 03/28/2024   Email to I. Berhane re: documents and email A. Montgomery.               0.30    $726.00    $217.80

 03/28/2024   Call with A. Montgomery re: incomplete set of documents                  0.50    $726.00    $363.00
              produced.

 04/18/2024   Analyze different response letters for inconsistencies (.2), and         0.30    $726.00    $217.80
              email A. Montgomery re: next steps (.1).




                                                     Page 1 of 3
        Case 1:24-cv-00398-APM Document 18-16 Filed 07/22/24 Page 3 of 4
                                                                                              Invoice # 49 - 06/27/2024




04/23/2024    Review case management order and email A. Montgomery re: next                 0.60     $726.00     $435.60
              steps (.1), and call with A. Montgomery re: next steps (.5).

04/24/2024    Draft letter to I. Berhane re: missing documents and next steps.              0.60     $726.00     $435.60

04/24/2024    Call with A. Montgomery re: email correspondence to I. Berthane               0.40     $726.00     $290.40
              (.2) and revise email and spreadsheet.

05/03/2024    Email I. Berhane and A. Montgomery re: status of document                     0.30     $726.00     $217.80
              requests and status report.

05/06/2024    Review email from I. Berhane (.1), email A. Montgomery re: next               0.50     $726.00     $363.00
              steps (.2), and email I. Berhane re: status report (.2).

05/06/2024    Call with A. Montgomery re: Freedom of Information Act response               0.40     $726.00     $290.40
              and next steps.

05/06/2024    Draft joint status report and email A. Montgomery (.1).                       0.40     $726.00     $290.40

05/07/2024    Edit joint status report (.2), email A. Montgomery (.1), and email            0.50     $726.00     $363.00
              and call I. Berhune (.2)

05/21/2024    Email A. Montgomery re: joint status report and calls with A.                 0.70     $726.00     $508.20
              Montgomery (.5).

05/21/2024    Review joint status report draft from I. Berhane and draft status             0.50     $726.00     $363.00
              report.

                                                                                    Quantity Subtotal                13.2

                                                                                    Services Subtotal           $9,583.20



Expenses

 Type          Date                                Notes                               Quantity        Rate       Total

Expense      02/09/2024   Filing fee.                                                       1.00      $405.00    $405.00

                                                                                   Expenses Subtotal             $405.00


                                                                                       Quantity Total                13.2

                                                                                            Subtotal            $9,988.20

                                                                                                   Total        $9,988.20




Detailed Statement of Account

Current Invoice




                                                     Page 2 of 3
         Case 1:24-cv-00398-APM Document 18-16 Filed 07/22/24 Page 4 of 4
                                                                                   Invoice # 49 - 06/27/2024




      Invoice Number          Due On           Amount Due          Payments Received        Balance Due

 49                          07/27/2024              $9,988.20                      $0.00        $9,988.20

                                                                     Outstanding Balance         $9,988.20

                                                                 Total Amount Outstanding        $9,988.20




Please make all amounts payable to: The Pettinato Firm

Please pay within 30 days.




                                                  Page 3 of 3
